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                         UNITED STATES DISTRICT COURT
 9
          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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     UNITED STATES OF AMERICA,                Case No. CR 20-35-JFW
12
                Plaintiff,                    DEFENDANT MITCHELL
13                                            ENGLANDER’S REPLY TO THE
          v.                                  GOVERNMENT’S SENTENCING
14                                            POSITION
     MITCHELL ENGLANDER,
15                                            Judge:   John F. Walter
                Defendant.                    Date:    January 25, 2021
16                                            Time:    8:00 am
                                              Ctrm:    7A
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                                                                  Case No. CR 20-35-JFW
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 1        Defendant Mitchell Englander, by and through his counsel of record, hereby
 2 submits the attached reply to the Government’s Sentencing Position For Defendant
 3 Mitchell Englander.
 4
 5 DATED: January 19, 2021             KENDALL BRILL & KELLY LLP
 6
 7
                                       By:     /s/ Janet I. Levine
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10                                           Mitchell Englander

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 1 I.       INTRODUCTION
 2          The government offers a sentencing position wholly untethered from the facts
 3 of this case and the history and characteristics of Mr. Englander, and argues for a
 4 sentence completely out of line with the applicable guidelines and 18 U.S.C. §
 5 3553(a) factors. The government mislabels Mr. Englander as “privileged” and
 6 “wealthy,” and suggests that he has been convicted of and/or should be sentenced
 7 for witness tampering and perhaps even some speculative, undefined, and
 8 uncommitted corruption.
 9          But Mr. Englander fits none of these labels and has done none of these things,
10 as the plea agreement, the Presentence Investigation Report (“PSR”) and its
11 addendum, and Mr. Englander’s Position Regarding Sentencing shows.
12          Mr. Englander, in fact, is neither wealthy nor did he grow up privileged. He
13 grew up in a dysfunctional, largely single-parent home. PSR, Dkt. No. 40 ¶¶ 67-69.
14 His mother and siblings relied on government assistance and local non-profit
15 organizations for necessities. See Englander’s Redacted Position Regarding
16 Sentencing, Dkt. No. 43 at p. 15. He graduated from continuation high school while
17 working as a night-shift janitor. Id. at p. 18.1 Mr. Englander was a public servant
18
            1
            The Letters of Support offered in support of Mr. Englander’s Position
19 Regarding Sentencing show that, as a young man, Mr. Englander gave up a
20 financially lucrative career in campaign management so that he could take a position
   in public service and serve his community for many years. Dkt. No. 43 at p. 32 &
21 Support Letters, Ex. B-5. He also worked for many years as a reserve police officer,
22 for no compensation, only resigning from that position when this case was filed. Id.
   at pp. 24-25.
23
24        The government discounts Mr. Englander’s Support Letters, suggesting they
   come from a “cadre” of “long-time colleagues and/or constituents” who “seek to
25 highlight their personal view of defendant’s laudatory accomplishments.”
26 Government’s Sentencing Position, Dkt. No. 49 at p. 22. The government’s brief
   makes no substantive comment on the content of the letters and its characterization
27 of the letters is wrong. Mr. Englander’s supporters come from all walks of life, and
28 their relationships with Mr. Englander span from early childhood to present day.

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 1 for most of his adult life leaving public service about two years ago to enter the
 2 private sector, eventually starting his own consulting business,2 which has been
 3 decimated since the felony charges in this case. PSR, Dkt. No. 40 ¶¶ 90, 92, 93.
 4 And as the plea agreement drafted by the government and its supporting factual
 5 basis make clear, he pled guilty here to making false statements, not witness
 6 tampering or to an entirely imagined and speculative public corruption offense.
 7        Under these facts, as set forth in Mr. Englander’s Position Regarding
 8 Sentencing and his Response to the Government’s Objections to the PSR, Mr.
 9 Englander’s false statement offense is properly analyzed under U.S.S.G. § 2B1.1,
10 which provides a base offense level of six. The parties did not “stipulate” to any
11 greater offense and none of the government’s urged enhancements apply. See
12 Englander’s Response to Government’s Objections to the PSR, Dkt. No. 48 at pp. 8-
13 19. Taking into account Mr. Englander’s acceptance of responsibility, the adjusted
14 offense level is four, which given Mr. Englander’s lack of criminal history, yields a
15 guidelines range of 0 to 6 months imprisonment. PSR, Dkt. No. 40 ¶ 103. Mr.
16
17 They include childhood friends and mentors, fellow reserve police officers and
   supervisors, and colleagues who have long since left public service—none of whom
18 have any self-interest in supporting Mr. Englander. They discuss specific incidents,
19 such as Mr. Englander’s selfless service at the scene of a deadly train crash that
   killed 25 people, or his focused dedication to enlarging hospital capacity and
20 facilities for at-risk youth. The letters make the presentation necessary for this
21 Court to exercise its judgment in applying the § 3553(a) factors. The government’s
   flippant rejection of the letters does not aid that exercise of judgment.
22
           2
             The government, perhaps to detract from Mr. Englander’s long history of
23 public service and volunteer work, highlights that in 2019, after devoting most of his
24 adult life to public service, Mr. Englander left City Council and entered the private
   sphere. Government’s Sentencing Position, Dkt. No. 49 at pp. 1, 19. But there is
25 nothing wrong with leaving public service for a for-profit endeavor. People
26 regularly come and go from public service. See, e.g., U.S. Attorney Nick Hanna
   Returns to Gibson Dunn, Jan. 11. 2021, available at https://bit.ly/3qjUusI.
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 1 Englander seeks probation—the sentence recommended by the PSR and which is
 2 within the guidelines range. Given all the § 3553(a) factors, as is detailed in his
 3 Position Regarding Sentencing, Mr. Englander submits that a probation sentence is
 4 the just and appropriate sentence.3
 5 II.     THE GOVERNMENT’S SENTENCING ARGUMENT
 6         The government’s argument (which is baseless), essentially, is that this case is
 7 not a false statement case, but rather a witness tampering case, overlaid with
 8 speculation about some potential unspecified bribery that could have occurred, and
 9 thus it should be governed by U.S.S.G. § 2J1.2. The government also argues that at
10 least two “two-level” enhancements apply, abuse of trust (U.S.S.G § 3B1.3) and
11 conduct extensive in scope (U.S.S.G. § 2J1.2(b)(3)(C)), which, taking into account
12 Mr. Englander’s acceptance of responsibility and lack of any criminal history, yields
13 an adjusted offense level of 15 and a guidelines sentencing range of 18 to 24
14 months. (These arguments are fully addressed and debunked in Mr. Englander’s
15 Response to the Government’s Objections to the PSR (Dkt. No. 48) and the United
16 States Probation Office’s (“USPO”) Addendum to the PSR (Dkt. No. 57).) And the
17 government argues that a high-end sentence (24 months) within this guideline is
18 appropriate, because despite the fact that Mr. Englander has led an exemplary life,
19 accepted responsibility early, is not a danger (as his stipulated bond reveals), and
20 has never before violated the law, probation is not appropriate because white-collar
21 offenders in general get away all too easy, government corruption is causing
22 mistrust of government, and a “lenient” sentence would embolden future criminals.
23 See Government’s Sentencing Position, Dkt. No. 49 at pp. 10, 15-16. Finally, the
24
25
           3
26         On January 15, 2021, the United States Probation Office (“USPO”) filed an
   addendum to its Presentence Investigation Report (Dkt. No. 57), which analyzed and
27 rejected the government’s objections to the PSR. The USPO maintains its original
28 sentencing recommendation of probation and a fine.

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 1 government incredibly argues that Mr. Englander, who is seeking a guideline
 2 sentence, is in fact seeking special treatment.
 3        The Government’s guideline analysis has been twice rejected by the probation
 4 department in its PSR (Dkt. No. 40) and its addendum (Dkt. No. 57). As set forth in
 5 Mr. Englander’s Position Regarding Sentencing (Redacted, Dkt. No. 43; Sealed,
 6 Dkt. No. 51), Response to the Government’s Objections to the PSR (Dkt. No. 48),
 7 and herein, the government’s guideline analysis, the cases it cites, and the narrative
 8 it tries to advance, fail. Mr. Englander should be sentenced to probation.
 9 III.   THE GOVERNMENT’S SENTENCING POSITION IS SERIOUSLY
10        FLAWED
11        A.     Section 2B1.1 Applies to This 18 U.S.C. § 1001 False Statement
12               Offense, Which Is A Generic Crime; Mr. Englander Seeks a
13               Within-Guidelines Sentence
14        Despite the government’s attempt to characterize the crime here as a “white-
15 collar” crime (see Government’s Sentencing Position, Dkt. No. 49 at pp. 8-10, 13-
16 16), 18 U.S.C. § 1001 false statement violations are not “white-collar” crimes; rather
17 § 1001 is a generic criminal statute that punishes false statements about both white-
18 collar crimes and blue-collar crimes, and false statements within the jurisdiction of
19 the government that are not about federal crimes at all, such as here. Even a cursory
20 review of the annotations on Westlaw under 18 U.S.C. § 1001 shows that “1001”
21 violations involve false statements on myriad subjects.
22        And Mr. Englander, contrary to the government’s argument, is not seeking
23 some sort of white-collar offender special treatment. As set forth in Mr.
24 Englander’s Redacted Position Regarding Sentencing (Dkt. No. 43 at pp. 5-8) and
25 Response to the Government’s Objections to the PSR (Dkt. No. 48 at pp. 6-8), and
26 in the PSR (Dkt. No. 40 ¶ 41), U.S.S.G. § 2B1.1 applies to most § 1001 violations.
27 Section 2J1.2, the guideline the government urges the Court to apply here, only
28 applies to § 1001 violations when the specific offense has a statutory maximum of

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  1 eight years because it relates to sex crimes or terrorism. U.S.S.G § 2J1.2(b)(1)(A) &
  2 (C). But that is clearly not the case here. Nor has Mr. Englander stipulated to a set
  3 of facts proving all the elements of the higher offense the government urges, 18
  4 U.S.C. § 1512. As explained in Mr. Englander’s Response to the Government’s
  5 Objections to the PSR (Dkt. No. 48 at pp. 3, 8-11), the plea agreement and its
  6 factual basis do not establish all of the elements of such a violation.
  7         Mr. Englander is not asking for special treatment as a wealthy, privileged,
  8 white-collar defendant. Rather, he is asking for equal treatment under the same set
  9 of guidelines applicable to all who violate § 1001. See Bureau of Justice Statistics,
 10 Federal Criminal Case Processing Statistics, available at
 11 https://www.bjs.gov/fjsrc/tsec.cfm (showing that from 2014-2016, the most recent
 12 years for which data is available, a clear majority of defendants convicted of “1001”
 13 violations received probation sentences).4
 14         The government inexplicably relies on two Central District of California
 15 cases, United States v. Baca, Case No. 16-CR-66-PA (C.D. Cal.) and United States
 16 v. Dredd, Case No. 15-CR-569-DSF (C.D. Cal.), to support its suggested 24-month
 17 sentence here, referencing these cases as examples of sentences actually imposed on
 18 public officials in this District. See Government’s Sentencing Position, Dkt. No. 49
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              On page 24 of its brief, the government cites to the average prison sentence
 22   for defendants sentenced under U.S.S.G. § 2J1.2, which does not apply here. The
      government also cites to the average prison sentence imposed for all violations to
 23   which U.S.S.G. § 2B1.1 applies, suggesting that the statistic it cites establishes that
 24   the average sentence for the crime charged here is a term of imprisonment. But as
      the government should know, that statistic includes all fraud cases sentenced under
 25   § 2B1.1, which includes financial crimes such as Ponzi schemes, procurement fraud,
 26   wire and mail fraud, and health care fraud. The appropriate statistic, notably
      ignored by the government, but presented in Mr. Englander’s Redacted Position
 27   Regarding Sentencing, is that of “1001” violations. That statistic shows that most
 28   “1001” violations are sentenced to straight probation. Dkt. No. 43 at p. 35, n.29.

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  1 at p. 25, n.8. But these cases in fact establish that Mr. Englander’s position and that
  2 of the PSR as to the applicability of § 2B1.1 are correct.
  3         Dredd is discussed at length in Mr. Englander’s Response to the
  4 Government’s Objections to the PSR. Dkt. No. 48 at pp. 6-8, 19-20. Both the
  5 Dredd and Baca cases ended after trials in which the defendants were convicted.
  6 Neither case was resolved by a guilty plea. Both cases arise from a series of cases
  7 involving false statements, obstruction, various misconduct in the county jail, and a
  8 related cover-up involving many in the Los Angeles County Sheriff’s Office.
  9         In the first case, involving Sheriff Baca, the United States Attorney’s Office
 10 made a binding Federal Rule of Criminal Procedure 11(c)(1)(C) plea offer to Baca,
 11 under which Baca would plead guilty to a false statement and he would receive a
 12 sentence from probation to six months in custody. The Baca plea agreement set
 13 forth that § 2B1.1 applied to Baca’s false statement offense, with a base offense
 14 level of six. Baca, Case No. 16-CR-66-PA (C.D. Cal.), Dkt. No. 5. The binding
 15 plea agreement limited the sentencing Court’s ability to sentence Baca above six
 16 months. The offer was made by now Chief of the Criminal Division Brandon Fox,
 17 who was at the time the head of the Public Corruption section. It was accepted by
 18 Baca and Baca entered a guilty plea. When it came time to sentence, the USAO
 19 urged the Court in writing to accept the plea agreement, but the Court refused. Id. at
 20 Dkt. No. 62. Given the Court’s refusal to accept the binding plea, the guilty plea
 21 was withdrawn, and Baca went to trial. He was convicted, after trial, of the more
 22 serious crimes of obstruction of justice and conspiracy to obstruct justice. Using
 23 the obstruction base offense level and proven-at-trial enhancements, including
 24 organizer-leader, the Court sentenced Baca to 36 months.
 25         While the government tries to analogize the instant case to the eventual
 26 sentence that Baca received, such analogy is clearly unjustified. Baca was convicted
 27 of obstruction and conspiracy to obstruct, as well as a false statement. His post-trial
 28 guidelines were enhanced four levels as he was an organizer-leader. His base

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  1 offense level after trial, for obstruction, was higher than the § 2B1.1 offense level
  2 for false statements (the original, binding plea offer). And he did not receive a
  3 reduction for acceptance of responsibility.
  4         A much more apt comparison is to United States v. Dredd. Dredd was
  5 convicted of a false statement offense after trial. There the government urged, and
  6 the Court found, that the false statement offense had a base offense level of 6.
  7 Dredd, Case No. 15-CR-569-DSF (C.D. Cal.), Dkt. No. 311. Dredd was sentenced
  8 to 12 months in custody because he lied at trial and did not accept responsibility, so
  9 his adjusted guideline level was higher than Mr. Englander’s, who did not go to trial
 10 and did accept responsibility. Dredd clearly shows that the base offense level here
 11 is § 2B1.1.
 12         B.    The Government’s 24-Month Recommendation is Not Lenient,
 13               Despite Its Claim Otherwise
 14         Ignoring the limits of the plea agreement and the factual basis it drafted and
 15 executed, the government asks this Court to circumvent that agreement and sentence
 16 Mr. Englander based on verbiage in the indictment it did not pursue to conviction
 17 and the creative parade of possible horribles first appearing in its sentencing position
 18 paper. In making this argument, the government suggests a sentencing guideline
 19 range of 18 to 24 months and urges the Court to sentence at the top of this range (a
 20 guideline range the PSR and Mr. Englander establish is not justified).
 21         The government argues that in recommending 24 months, it is rewarding Mr.
 22 Englander with a lenient recommendation because he promptly pled guilty. See
 23 Government’s Sentencing Position, Dkt. No. 49 at p. 23. But the government’s 24-
 24 month high-end custody recommendation is not lenient, and, as set forth in Mr.
 25 Englander’s previously filed papers, is not justified in any way.
 26         The government’s unusual suggestion that its requested 24-month sentence is
 27 lenient because the appellate waiver in the parties’ plea agreement does not kick in
 28 unless a higher sentence (36 months) is imposed makes no sense. (The government

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  1 also suggests, contrary to the plea agreement, that it could have requested a 60-
  2 month sentence here.)5 But agreeing to an appellate waiver or a sentencing range
  3 does not imply agreement to a particular sentence nor does it indicate that a sentence
  4 below the appellate waiver is lenient. And no one can rationally suggest that Mr.
  5 Englander agreed that 36 months was a reasonable sentence here (which it clearly is
  6 not, given the 0 to 6 month guideline range) any more than one could suggest that
  7 the government agreed that probation was the reasonable sentence because the
  8 government agreed that Mr. Englander could request probation. Thirty-six months
  9 is merely the highest custodial sentence the government could seek under the plea
 10 agreement and where the appellate waiver evaporates. See Plea Agreement. Dkt.
 11 No. 24 ¶¶ 3(e), 14. Indeed, the 36-month limit on the government’s potential
 12 sentence request applied in any circumstance; for example, if Mr. Englander had a
 13 long criminal history or if he was disrespectful to the Court—and it applied without
 14 consideration of any § 3553(a) or mitigating factors. To use the outer bounds of a
 15 sentencing range to suggest that any sentence below the outer bound is lenient is an
 16 argument undeserving of serious consideration.
 17         C.    The Government Seeks to Punish Mr. Englander for Offenses It
 18               Did Not Charge and/or Did Not Pursue, Or For Conduct, While
 19               Not Criminal, It Just Disapproves Of
 20         The government argues that this case is “borne from corruption,” effectively
 21 trying to morph this false statement case into a bribery case. Government’s
 22 Sentencing Position, Dkt. No. 49 at p. 10. In doing so, the government attempts to
 23
 24         5
              The government misstates that the parties’ plea agreement “allows the
 25   government to recommend a sentence up to 60 months’ custody.” Dkt. No. 49 at p.
 26   23, n.7. That is false. The plea agreement, in fact, prohibits the government from
      seeking a sentence of more than 36 months’ imprisonment. Plea Agreement, Dkt.
 27   No. 24, ¶ 3(e) (the USAO agrees to “[n]ot seek a sentence of imprisonment above
 28   36 months…”).

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  1 muddy the waters between this straight-forward false statement plea agreed to by the
  2 parties here and the government’s broader public corruption probe into City Council
  3 bribery schemes. But federal bribery is not some elusive concept; it is a specific
  4 offense with specific elements that must be met. See 18 U.S.C. § 201; McDonnell v.
  5 United States, 136 S. Ct. 2355, 2371-72 (2016); Englander Redacted Position
  6 Regarding Sentencing, Dkt. No. 43 at p. 6, n.7; Englander Response to
  7 Government’s Objections to the PSR, Dkt. No. 48 at p. 13.
  8         Despite the government’s rhetoric, those elements are not met here. There is
  9 no bribe, no “pay-to-play,” and no “quid pro quo.”6 There is not even an “official
 10 act” or an agreement to perform an “official act.” If the government was able to
 11 prove any such conduct, it should have charged and pursued it. See Englander
 12 Response to Government’s Objections to the PSR, Dkt. No. 48 at pp. 5-6 (under
 13 existing DOJ policy, the government is required to “charge and pursue the most
 14 serious, readily provable offense,” i.e., the offense with the “most substantial
 15 guideline sentence . . . .”) It did not do so and it cannot erase that failure by forceful
 16 but ultimately empty rhetoric.
 17         The same goes for the government’s attempt to apply U.S.S.G. § 2J1.2 to Mr.
 18 Englander. While Mr. Englander was indicted on both § 1001 and § 1512
 19 violations, the more serious § 1512 violations were dropped in the parties’ plea
 20 agreement, with Mr. Englander pleading guilty to one count of making false
 21 statements under § 1001. The plea agreement, which contains a detailed factual
 22 basis carefully negotiated by the parties, does not contain the words “obstruction” or
 23
 24         6
              Despite the government’s unwarranted implication in its footnote 6
 25   (Government’s Sentencing Position, Dkt. No. 49 at p. 13, n.6), Mr. Englander is not
 26   charged in Mr. Huizar’s bribery case or involved in that case—not as a defendant
      and not as a witness. Had the government had any evidence to tie Mr. Englander to
 27   its omnibus bribery case, it would have done so. This type of prosecutorial
 28   overreach—culpability by innuendo—is not justifiable or acceptable.

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  1 “witness tampering” or the facts necessary to establish the elements of these
  2 offenses. And the government’s claim that it included “essentially all” the
  3 necessary language (Government’s Sentencing Position, Dkt. No. 49 at p. 2) does
  4 not satisfy the requirement to include all the necessary language. “Essentially all” is
  5 not all.
  6          As set forth in Mr. Englander’s Response to the Government’s Objections to
  7 the PSR (Dkt. No. 48 at pp. 8-11), the government has not shown any underlying
  8 “federal offense,” as required under § 1512(b)(3).7 The government’s speculation
  9 about what “could have been” does not fill that void.
 10          Recognizing this fatal flaw in its argument to support its urged guideline, and
 11 the lack of any substance to support its suggested sentence, the government tries to
 12 substitute an undefined “breach” of “duty and oath” based on Mr. Englander’s prior
 13 positions as a public official and a reserve police officer for the actual federal
 14 offense required under § 1512. Government’s Sentencing Position, Dkt. No. 49 at p.
 15 3.
 16          Every citizen—public official or not—has an obligation and duty to be
 17 truthful in interviews with the government. Section 1001 punishes all such conduct.
 18 This case is not about the violation of an oath or even a violation of duty—it is
 19 about the false statement to which Mr. Englander pled guilty and accepted
 20 responsibility. And violating an oath or duty does not transform a false statement
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 22
 23          7
               The government states that Mr. Englander left public office before the end
 24   of his last term, insinuating that his departure had something to do with this
      investigation. Government’s Sentencing Position, Dkt. No. 49 at p. 1. But as just
 25   the timing shows, the government’s attempt to link these events is yet another
 26   speculative leap. At the time Mr. Englander announced in October 2018 that he was
      leaving his position on December 31, 2018, he had not heard from the government
 27   since his interview with them in early February of that year, three quarters of a year
 28   earlier.

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  1 offense into witness tampering. See generally PSR, Dkt. No. 40 ¶ 46; Englander’s
  2 Response to Government’s Objections to the PSR, Dkt. No. 48 at pp. 11-15.
  3        D.     The Government Bases Its Argument on Speculation and
  4               Assumption, Not Fact
  5        To ask for a 24-month sentence and paint Mr. Englander as something he is
  6 not, the government makes a number of baseless assumptions, drawing conclusions
  7 without facts and speculating without basis. For example, the government argues
  8 that “[o]ne would certainly have to question” whether the gambling money Mr.
  9 Englander accepted from Businessperson A “could, in return, leave the recipient
 10 vulnerable to distasteful requests or demands in the future.” Government’s
 11 Sentencing Position, Dkt. No. 49 at pp. 3-4 (emphasis added). It assumes and
 12 argues that Mr. Englander “opened himself up to improper influence and potential
 13 blackmail” in what was “the start of a concerning and predictable relationship.” Id.
 14 at p. 4 (emphasis added). It concludes, without basis, that the relationship “likely
 15 would have blossomed into federal bribery . . .” Id. (emphasis added).
 16        But there is no such evidence; after a comprehensive investigation of Mr.
 17 Englander and his finances, and interviews with friends, colleagues, and business
 18 acquaintances, discovery shows that the government developed no evidence of any
 19 bribery scheme. And its baseless speculation about the potential for a crime to
 20 maybe perhaps occur in the future is not worthy of consideration here and is not the
 21 substance on which to base a sentencing decision.
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  1         E.    The Government’s Analysis of the 18 U.S.C. § 3553(a) Factors
  2               Focuses on General Deterrence, Largely Ignoring the Other
  3               Factors
  4               1.     The Government’s Deterrence Argument Relies on
  5                      Inapplicable Case Law and Speculation and Misstates Facts
  6         The government focuses almost entirely on deterrence, largely ignoring other
  7 factors under 18 U.S.C. § 3553(a).8 Government’s Sentencing Position, Dkt. No. 49
  8 at pp. 15-16. In making deterrence virtually its only focus, the government
  9 impermissibly focuses on just one of the § 3553(a) factors. This is not allowed, as
 10 the government itself acknowledges when it unjustly criticizes the PSR. Id. at pp. 9-
 11 10 (citing United States v. Bragg, 582 F.3d 965, 969 (9th Cir. 2009)).
 12         The government’s deterrence argument begins with a citation to a very dated,
 13 nearly four-decades-old 1983 Congressional report referencing white-collar crime
 14 that pre-dates the sentencing guidelines. See Government’s Sentencing Position,
 15 Dkt. No. 49 at pp. 14-16, 18. The government then cites several cases to support its
 16 less-than-relevant but media-pleasing claim that white-collar defendants get off too
 17 easily. But any reading of these unusual cases it cites shows that each has no
 18 application here. In fact, many involve enormous departures from the guideline
 19 range—something Mr. Englander is not seeking. For instance:
 20        In United States v. Bistline, 665 F.3d 758, 760 (6th Cir. 2012), cited by the
 21         government for the proposition that “criminals with privileged backgrounds
 22         are [no] more entitled to leniency than those who have nothing left to lose”
 23         (Government’s Sentencing Position, Dkt. No. 49 at p. 20, citing Bistline, 665
 24         F.3d at 765-66), the defendant pled guilty to possession of 305 images and 56
 25
            8
 26          The government accuses the PSR of just focusing on a couple of § 3553(a)
    factors (Government’s Sentencing Position, Dkt. No. 49 at pp. 8-10), which the PSR
 27 clearly does not. The PSR evaluates the full range of § 3553(a) factors. See USPO
 28 Sentencing Recommendation Letter, Dkt. No. 39 at pp. 1-5.

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  1         videos of child pornography, many of which showed 8-10-year-old girls being
  2         raped by adult men. The guidelines sentence was 63 to 78 months’
  3         imprisonment. The district court sentenced defendant to a single day of
  4         confinement in courthouse lock up (presumably his booking day).
  5        In United States v. Kuhlman, 711 F.3d 1321, 1325-26 (11th Cir. 2013), cited
  6         by the government for the proposition that non-custodial sentences do not
  7         serve the goal of general deterrence (Government’s Sentencing Position, Dkt.
  8         No. 49 at p. 16), the defendant engaged in a five-year, $3 million health care
  9         fraud scheme. His total offense level was 25, with a guideline range of 57 to
 10         71 months’ imprisonment. The district court varied downward 20 levels,
 11         imposing a sentence with no custodial time.
 12        In United States v. Livesay, 587 F.3d 1274, 1277-79 (11th Cir. 2009), cited by
 13         the government for the proposition that the threat of probation does not
 14         provide the same level of deterrence as the threat of incarceration
 15         (Government’s Sentencing Position, Dkt. No. 49 at p. 16), the defendant
 16         engaged in a “massive” accounting fraud that “bilked” over a billion dollars
 17         from company shareholders. The guidelines range was 78 to 97 months’
 18         imprisonment. The court departed substantially downward and imposed a
 19         term of 5 years’ probation.
 20        In United States v. Martin, 455 F.3d 1227, 1230-31 (11th Cir. 2006), cited by
 21         the government for the proposition that general deterrence is particularly
 22         effective in sentencing white-collar crimes “because white collar criminals
 23         often premeditate their crimes and engage in a cost-benefit analysis”
 24         (Government’s Sentencing Position, Dkt. No. 49 at p. 15), defendant engaged
 25         in a “massive and prolonged” securities fraud conspiracy. His guidelines
 26         range was 108 to 135 months’ imprisonment. The district court varied
 27         downward 23 levels, sentencing him to seven days imprisonment.
 28        In United States v. Prosperi, 686 F.3d 32, 34 (1st Cir. 2012), cited by the

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  1        government for the proposition that courts should not “impose a lighter
  2        sentence on white-collar defendants than on blue-collar defendants because it
  3        reasons that white-collar offenders suffer greater reputational harm or have
  4        more to lose by conviction” (Government’s Sentencing Position, Dkt. No. 49
  5        at p. 20, citing Prosperi, 686 F.3d at 47), defendants were convicted of mail
  6        fraud, highway project fraud, and conspiracy to defraud the government. The
  7        guidelines sentencing range was 87 to 108 months’ incarceration. They
  8        received 6 months of home monitoring, 3 years’ probation and community
  9        service, which the court of appeals in fact affirmed. Id. at 34, 49-50.
 10        These cases do not apply here where Mr. Englander is not asking for a
 11 departure from the guidelines range at all, let alone one of the magnitude the
 12 government’s cases address. Instead, Mr. Englander is asking, consistent with the
 13 PSR and its addendum, for a sentence of probation, which is within the properly-
 14 applied guideline range of 0 to 6 months and is plainly justified by the § 3553(a)
 15 factors.9
 16               2.    The Government Minimizes and Ignores Key § 3553(a)
 17                     Factors, Including Mr. Englander’s History and
 18                     Characteristics, Protection of the Public, the Kinds of
 19                     Sentences Available, and the Need to Avoid Unwarranted
 20                     Sentencing Disparities
 21        In addition to mischaracterizing the “nature and circumstances” of Mr.
 22 Englander’s § 1001 violation as a witness tampering and bribery offense when it
 23 plainly is not, the government also ignores a number of § 3553(a) factors. Mr.
 24 Englander’s “history and characteristics,” set forth in detail in Mr. Englander’s
 25
           9
 26         If the Court determines that § 2J1.2 applies here, Mr. Englander requests a
    small variance downward to allow for probation—nothing like the huge variances
 27 sought in the cases cited by the government. Englander’s Redacted Position
 28 Regarding Sentencing, Dkt. No. 43 at p. 9, n.10.

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  1 Position Regarding Sentencing (Redacted, Dkt. No. 43; Sealed, Dkt. No. 51), are
  2 glossed over in a single sentence and then discounted by another reference to Mr.
  3 Englander “parlay[ing]” his public sector work into a “lucrative career in private
  4 practice.” Government’s Position Regarding Sentencing, Dkt. No. 49 at p. 19. The
  5 government’s analysis barely acknowledges Mr. Englander’s tremendous childhood
  6 struggles, his nearly two decades of public service, his years of service as a reserve
  7 police officer, and his enduring focus on charity and family.
  8         Nor does the government even attempt to explain how a custodial sentence
  9 here will “protect the public from further crimes of the defendant” under 18 U.S.C.
 10 § 3553(a)(2)(C). The government entirely ignores Mr. Englander’s dedication to
 11 law enforcement during his over ten years as an LAPD reserve police officer
 12 (regularly putting his life at risk for the good of the people) and the USPO’s
 13 conclusion that “[t]he instant offense notwithstanding, much of [Mr.] Englander’s
 14 life has evidenced great respect for the law.” USPO Sentencing Recommendation
 15 Letter, Dkt. No. 39 at p. 3.
 16         And glaringly absent from the government’s argument is any mention of the
 17 “kinds of sentences available” given the worldwide pandemic currently gripping Los
 18 Angeles, and custodial settings,10 in particular. Courts in this District and across the
 19 country have considered the effects of the pandemic in making sentencing decisions
 20 for nearly a year, and if the Court is considering a custodial sentence here, those
 21 risks must be considered. As noted in Mr. Englander’s Sealed Position Regarding
 22 Sentencing (Dkt. No. 51 at p. 37, n.31), Mr. Englander has relevant medical
 23 conditions that necessarily impact any sentencing analysis. See 18 U.S.C. §
 24 3553(a)(2)(D) & (a)(3) (requiring a court to consider “the kinds of sentences
 25 available” when sentencing a defendant and to impose a sentence that provides the
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 27         10
            See Federal Bureau of Prisons, COVID-19 Inmate Test Information,
 28 available at https://www.bop.gov/coronavirus/.

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  1 defendant with medical care “in the most effective manner”). And also absent is
  2 any recognition that a felony conviction and probation are substantial sentences, and
  3 involve real punishment. See Englander’s Redacted Position Regarding Sentencing,
  4 Dkt. No. 43 at pp. 35-36.
  5          Finally, the government urges a custodial term (which is way outside the
  6 guidelines), citing the need to avoid sentencing disparities under§ 3553(a)(6). But it
  7 is the government that is requesting the disparate, aberrant sentence.
  8          The USPO’s Sentencing Recommendation Letter concludes that a custody
  9 sentence “would be aberrant for other defendants facing a similar guideline range
 10 with a background like [Mr.] Englander’s” (Dkt. No. 39 at p. 3), which the Bureau
 11 of Justice Statistics confirms. See supra, at p. 5. The USPO explains the basis for
 12 this conclusion: Mr. Englander is a “non-violent, first time offender with a long
 13 history of compliant behavior.” PSR, Dkt. No. 39 at p. 3. And the guideline range
 14 for the offense is 0 to 6 months. This conclusion and its reasoning may not fit with
 15 the government’s narrative, but it is accurate, as the facts set forth in the PSR show.
 16 A probation sentence, as recommended in the PSR, will avoid the “unwarranted
 17 sentence disparities” the government warns against.
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  1 IV.    CONCLUSION
  2        There is no doubt that the general public has lost trust in civic institutions.
  3 One need look no further than the recent events at the United States Capitol to see
  4 just how much has been lost. But the government cannot lay this erosion at Mr.
  5 Englander’s feet, as it has clearly attempted to do here.
  6        Mr. Englander stands convicted of a single false statement § 1001 violation.
  7 He accepted responsibility. The Court should sentence Mr. Englander for the crime
  8 to which he has entered his guilty plea, considering the guidelines and the § 3553(a)
  9 factors. It is respectfully submitted that due consideration of the appropriate
 10 guidelines and § 3553(a) factors compels a probation sentence.
 11
 12 DATED: January 19, 2021               KENDALL BRILL & KELLY LLP
 13
 14
                                          By:          /s/ Janet I. Levine
 15
                                                Janet I. Levine
 16                                             Attorneys for Defendant
 17                                             Mitchell Englander

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